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                                                     U.S. Department of Justice

                                                     Channing D. Phillips
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                   June 21, 2021

Charles Burnham
BURNHAM & GOROKHOV PLLC
1424 K Street, NW
Suite 500
Washington, DC 20005


       Re:    United States v. Larry Brock
              Case No. 1:21-cr-00140-JDB

Dear Mr. Burnham:

        In accordance with Rule 16 of the Federal Rules of Criminal Procedure, and as otherwise
required by law (e.g., Brady v. Maryland, 373 U.S. 63 (1963), United States v. Giglio, 405 U.S.
150 (1972)), the Government has produced preliminary discovery through USAfx File no.
134638468690, which contains discovery divided into files named: Brock HIGHLY SENSITIVE
Materials, Brock SENSITIVE Materials, Brock Reports, Brock Facebook SW Return, Brock
Screenshots, Brock Court Documents, and Brock Capitol Video. This is all contained within a
larger folder entitled Brock Discovery 21CR140. Preliminary discovery was originally uploaded
to USAfx in this case on March 31, 2021, and was subsequently supplemented on May 16-27,
2021.

       The following documents have been shared via USAfx in the first batch of preliminary
discovery:

 Serial No.     Document/Video/Photo
 3              Picture sent to SA Montgomery
 9              Larry Brock – Twitter image.jpg
 9              Larry Brock – Twitter image2.jpg
 9              Larry Brock – Twitter image3.jpg
 9              Larry Brock – Facebook image.jpg
 9              Larry Brock – Google image (New Yorker)
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 9              Larry Brock – Facebook image3.jpg
 9              Larry Brock – Facebook image2.jpg
 52             Screenshot.JPG
 52             Brock video.mp4
 54             Brock Screenshot.jpg
 54             Brock Screenshot.jpeg
 54             Brock Screenshot.jpg
 54             Screen Shot 2021-01-09 at 3.29.28 PM

       The following documents have been shared via USAfx in the second batch of preliminary
discovery:

 Serial No.     Document/Video/Photo
 1              BROCK Opening Document
 1              Larry Brock.pdf
 1              BROCK L.docx
 2              Subject Detail Report
 2              Subject Detail Report -Larry Brock.docx
 3              Opening EC – Full Investigation
 3              Brock DL.pdf
 3              Larry Brock CLEAR.docx
 3              Larry Brock TWC103459.pdf
 3              Larry Brock License to Carry103524.pdf
 3              Larry Brock QH & QR103543.pdf
 4              Request WFO/CTOC to add the follow…
 4              Brock FD-65.xml
 4              Signed-Brock Arrest Warrant.pdf
 5              Crisis Intake Form
 5              External Email
 6              Warrant Entry
 7              Criminal History and Driver’s License Check
 7              Larry Rendall Brock NCIC
 8              MPD Tip
 8              External Email – MPD Tips
 9              Identification of Larry Rendall Brock
 9              Larry Brock Identification.pdf
 10             Face Comparison – Larry Rendall Brock (SENSITIVE)
 10             Brock Comparison.pdf
 11             From: notification.texttips…
 12             Coverage of Lead 1381
 12             Brock Accurint Report.pdf
 13             MPD Tip
 13             External Email – New Tip
                                             2
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14         Photos of Larry Brock
15         Photos of Larry Brock
16         Brock Signed Arrest Warrant
17         Preservation Request to Facebook
19         Information for Lead 1003 regarding Larry Brock
19         Brock DMV.jpg
19         CLEAR Brock.pdf
19         Brock WantsWarrants.pdf
19         Brock Criminal History
19         Brock Accurint.pdf
20         From: notificationtexttips
21         Video Collected from USCP Report (HIGHLY SENSITIVE)
21         USCP Video – 01:15 (HIGHLY SENSITIVE)
21         USCP Video – 04:31 (HIGHLY SENSITIVE)
21         USCP Video – 02:44 (HIGHLY SENSITIVE)
21         USCP Video – 02:31 (HIGHLY SENSITIVE)
21         USCP Video – 01:40 (HIGHLY SENSITIVE)
21         USCP Video – 01:25 (HIGHLY SENSITIVE)
24         Request for Preservation Records – Apple
25         Interview of [Redacted]
25         [Redacted] 302 Notes
25         Larry Brock Termination Letter.pdf
26         Video Collected from US Senate Report (HIGHLY SENSITIVE)
26         Senate Floor Video Cam 1 – 52:36 (HIGHLY SENSITIVE)
26         Senate Floor Video Cam 4 – 1:11:28 (HIGHLY SENSITIVE)
26         Senate Floor Video Cam 5 – 1:11:28 (HIGHLY SENSITIVE)
26         Senate Floor Video Cam 6 – 1:11:19 (HIGHLY SENSITIVE)
26         Senate Floor Video Cam 8 – 53:01 (HIGHLY SENSITIVE)
28         Intake Form
29         EC (FD-1057) (SENSITIVE)
29         011721-1820.pdf (SENSITIVE)
30         Interview of [Redacted]
30         [Redacted] Note 214840.pdf
31         Request for Preservation of Records – Google
32         EC (FD-1057)
33         EC (FD-1057) (SENSITIVE)
33         Larry Rendall Brock Jr. attachment
35         Interview Notes
36         Search of Residence of Larry Brock
40         Cell Phone Acquired from Arrest of Larry Brock
41         EC (FD-1057)
42         Interview Notes
43         Arrest of Larry Brock
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 43              Brock Arrest Warrant Signed
 43              Brock NTX RCFL Receipt
 46              Interview Notes
 47              Interview Notes
 48              Search Warrant
 48              Admin Worksheet Brock
 48              Photo Disc
 48              FD5978Brock144533.pdf
 48              Final SW Brock
 48              Evidentiary Log Brock
 49              Brock Initial Appearance Report
 50              Brock Detention Hearing Report
 50              Brock Pretrial Release Conditions
 51              Paypal Account Information
 51              Account Info-PayPal
 51              Account Info-PayPal Attachment
 52              Video Downloaded in Reference to Larry Brock (SENSITIVE)
 52              Videodow (SENSITIVE)
 54              Requesting Photo Comparison (SENSITIVE)
 66              Request Cover Sheet
 66              Digital Attachment (SENSITIVE)
 67              Interview Notes of [Redacted]
 69              TTK Review – Public Tip submitted (SENSITIVE)
 70              Sentinal Series: (U) Opening EC
 71              Apartment Floor Layout
 72              Facebook and Instagram Preservation Letters
 73              Larry Brock Termination Letter
 73              Facebook Pictures
 75              DL Photo Brock, Larry
 75              DL rock, Larry
 75              Brock.jpeg
 76              Ping Warrant
 76              Executed Ping Warrant
 77              Larry Brock Property Return
 77              Bock FD-597
 78              Search Warrant for Electronic Devices
 78              SW Brock devices 1-19-2021


        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
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similarly situated defendants, and citizen tips. The government is working to develop a system
that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       Please contact me if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant disclose prior statements of any witnesses defendant intends to call to testify at any
hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if defendant
plans to use one of the defenses referenced in those rules. Please provide any notice within the
time period required by the Rules or allowed by the Court for the filing of any pretrial motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                                      Sincerely,


                                                      /s/ April H. Ayers-Perez
                                                      April H. Ayers-Perez
                                                      Assistant United States Attorney




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